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IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF OKLAHOMA

l. ALICE HENSON, )
Plaintiff, g
v. § Case No. CIV-16-282-W
2. AAA INSURANCE COMPANY, §
Defendant. §
AMENDED PETITION

 

COMES NOW Plaintiff, Alice Henson, by and through her attorney, Scott
Gallagher, Little, Oliver and Gallagher, and for her cause of action against Defendant,
AAA Insurance Company, pursuant to Fed. R. Civ. P. 15, for its amended petition against
Defendant, AAA Insurance Company states and alleges as folloWs:

COUNT I

l. Alice Henson is a citizen and resident of Cleveland County, Oklahorna.

2. The accident occurred on or about the 16th day of March, 2015, in Oklahorna City,
Oklahoma County, Oklahoma.

3. Darline McCarthy negligently drove her vehicle through a red traffic light,
striking Plaintiff’s vehicle in Which she Was a passenger, causing severe injury to
Plaintiff. Darline McCarthy had liability insurance of $25,000.00 per person that
Was paid and subrogation Was Waived by the Defendant, AAA Insurance
Company.

4. Liability insurance carried by Darline McCarthy is With Nationwide Property &

Casualty Insurance Company With $25,000.00 limits per person.

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The liability limits Were offered by Nationwide Property & Casualty Insurance
Co. `

Pursuant to 36 O.S. § 3636 We provided this amount to our
uninsured/underinsured motorist carrier.

Plaintiff’ s uninsured/underinsured carrier Waived subrogation on March 23, 2016.
Plaintiff had an insurance policy With CSAA General Insurance Company,
formerly known as AAA Insurance Company, policy number OKSS-202906150.
The insurance policy Written by Defendant and paid for by Plaintiff provided
$50,000.00 per person insurance of uninsured/underinsured motorist coverage.
Uninsured/underinsured motorist by the insurance policy is designed to protect
Plaintiff in the situation Where Plaintiff is involved in an accident and the person
that causes the accident does not have enough insurance to cover the damages
caused.

In this case, Plaintiff sustained knee, back and neck injuries caused by the

negligence of Darline McCarthy.

. In this case, Plaintiff sustained $27,068.76 in medical bills caused by the'

negligence of Darline McCarthy.

In this case, Plaintiff sustained damages more than the $25,000.00 liability
insurance carried by Nationwide Property & Casualty Insurance Co.

ln this case, Plaintiff paid for uninsured/underinsured motorist coverage to
protect her.

Plaintiff had fulfilled her end of the contract by complying With all terms of her

end of the agreement

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16. Plaintiff made a demand for the $50,000.00 uninsured/underinsured motorist
coverage

l7. CSAA General Insurance Company, formerly known as AAA Insurance
Company, would not pay the $50,000.00 limit and offered to resolve this matter
for $2,200.00.

18. CSAA General Insurance Company has not fulfilled their end of the contract and
is in breach of the uninsured/underinsured contract.

COUNT II

19. Defendant has breached the contract by not providing uninsured/underinsured ,
benefits for the damages in this case.

20. Defendant’s actions are unreasonable

21. Defendant’s actions are in bad faith and not in good faith. Good faith consists
of an honest intention to abstain from taking any unconscientious advantage of
another, even through the forms or technicalities of law, together with an absence
of all information or belief of facts which would render the transaction
unconscientious.

22. Defendant’s actions acted to withhold a benefit owed to its insured under the
terms of the policy.

23. Defendant’s actions of an offer of $2,200.00 and their evaluation in this case is in
bad faith.
WHEREFORE, Plaintiff respectfully requests this Court enter its order for

damages in the amount of $50,000.00 for breach of contract and $50,000.00 for bad faith,

and for attorney fees, court costs and/or any other award that is allowed by law.

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Respectfully Submitted,

LITTLE, OLIVER & GALLAGHER

 

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